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Analysis of Club Rhythm Blues Income Expenditures
1998 - 2004

J. Somera
1-19-07

Sch C Gross Receipts-Club R&B $193,998.00 | 85 $323,739.00 | 85 | 125 $340,251 00 | 85 | 239
Other Income - Sign Rental
Total Gross Income $193,998.00 $323,739.00 $340,251.00 |
Less:
lon Se
Sch C Expenses-Club R&B $120,046.00 | 85 7 $182,759.00 | 85 | 125 $206,437.00 | 85 | 239 |
Returns & Allowances $1,258.00 | 85 | 239)
Plus Cost of Goods Sold $35,227.00 | 85 8 $64,420.00 | 85 | 126 $88,105.00 | 85 | 240
Materials $11,284.00 | 85 8 L
Less Depreciation ($22 ,043.00)| 85 7 ($13,848.00) 85 | 125 ($12,906.00)! 85 239 |
Less Amortization ($50.00)| 85 | 8 ($100.00)| 85 | 126 ($100.00)| 85 | 250]
Bar Principle Payments $90,766.75 | 85 | 71 $119,800.00 | * $25,200.02, *
Down Pymt on Bldg $7,500.00 | 85 | 81
Purchase of Equip-Goodwill $15,000.00 | 85 | 76
Purchase of Kitchen Equip $2,500.00 | 85 | 103
New Bathrooms-floor $21,390.00 | 85 | 49 |
Capital Purchases , $6,669.00 | 85 | 132 $6,338.00 | 85 | 246
Personal Draws | $27,000.00 | 85 | 298
Down Pymt on Liquor License [ |
Pymt. On Liquor License Loan |
Total Expenditures - Club R&B $281,620.75 | $359,700.00 $341,332.02 |
iE uals: | |
Net Income (Loss) ($87,622.75), ($35,961.00) ($1,081.02) _
—$-— P |
*Total Payments on Bldg Purchase $130,275.10 | 85 | 192 $26,055.02 | 85 | 297
Less: Interest Per Sch. C ($10,475.00)) 85 | 125 ($855.00); 85 | 239
Equals: Principle Paid $119,800.10 $25,200.02 |
—
**Total Payments on Liquor License st
Less: Interest Per Sch. C
Equals: Principle Paid |
p |

GOVERNMENT
EXHIBIT

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Analysis of Club Rhythm Blues Income Expenditures
1998 - 2004

J.

Somera
1-19-07

Sch C Gross Receipts-Club R&B $356,273.00 | 85 | 369 $364,251.00 | 85 | 547 $253,045.00 | 85 | 541 $162,440.00 | 85 468
Other Income - Sign Rental of $2,500.00 | 85 | 541 $2,500.00 | 85 468 |
Total Gross Income $356,273.00 $364,251.00 $255,545.00 $164,940.00
|.
Less: |
Sch C Expenses-Club R&B $236,160.00 | 85 | 369 $257,297.00 [ 85 547 $160,699.00 | 85 | 541 $90,046.00 | 85 468
Returns & Allowances , |
Plus Cost of Goods Sold $97,365.00 | 85 | 370 $83,707.00 | 85 | 548 $58,867.00 | 85 | 541 $39,385.00 | 85 469
Materials __ |
Less Depreciation ($6,132.00)| 85 | 369 ($5,821.00)| 85 | 547 ($5,821.00) 85 | 541 ($5,821.00)| 85 468
Less Amortization ($100.00)} 85 | 382 ($100.00)| 85 | 564 ($100.00); 85 | 542 ($100.00)| 85 469
Bar Principle Payments |
Down Pymt on Bldg
Purchase of Equip-Goodwill |
Purchase of Kitchen Equip
New Bathrooms-floor |
[Capital Purchases $1,200.00 | 85 | 377
Personal Draws $37,921.00 | 85 | 439 $28,366.50 | 85 | 618 $17,400.00 85 | 644 $24,950.00 85 | 532 & 533
Down Pymt on Liquor License $15,000.00 | 85 | 627
'|Pymt. On Liquor License Loan | $268.98 | ** $1,085.56 | **
Total Expenditures - Club R&B $366,414.00 $363,449.50 $246,313.98 i $149,545.56 |
FE uals:
Net Income (Loss) ($10,141.00 $801.50 $9,231.02 $15,394.44
|
_ po
“Total Payments on Bidg Purchase L
Less: Interest Per Sch. C |
Equals: Principle Paid [
| ~ |
**Total Payments on Liquor License $5,350.98 | 85 | 628 $9,810.00 | 85 523
Less: Interest Per Sch. C ($5,082.00)| 85 | 606 __($8,724.44)) 85 528
Equals: Principle Paid $268.98 $1,085.56

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